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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


   HEALTHCARE COMPLIANCE
   RESOURCES, LLC, a Michigan
   limited liability corporation,                               Case No. 1:05CV0471
                                                                Hon. Richard Alan Enslen
                  Plaintiff,

   v.

   PHYSICIAN REIMBURSEMENT SERVICES
   OF HOUSTON INC., a Texas corporation,
   PHYSICIAN REIMBURSEMENT SERVICES, INC.,
   a Texas corporation, and ALICE D. COLEHOWER,
   an individual,

                  Defendants,
                  Jointly and severally.
   _________________________________________/
   FRANK, HARON, WEINER AND NAVARRO, PLC
   By:    Monica P. Navarro (P52985)
          Michelle D. Bayer (P55546)
   Attorneys for Plaintiff
   5435 Corporate Drive, Suite 225
   Troy, MI 48098
   (248) 952-0400
   fax (248) 952-0890

   _________________________________________/

                           MOTION FOR JUDGMENT OF DEFAULT

          Pursuant to Fed. R. Civ. Pr. 55(b)(1) and for the reasons set forth in the attached brief,

   Plaintiff, Healthcare Compliance Resources, LLC (“HCR”), a Michigan limited liability

   company, by its attorneys, Frank, Haron, Weiner and Navarro, requests entry of judgment against

   the above-captioned Defendants, jointly and severally, as follows:

          I.      As to Count I of the Complaint, Unfair Competition and False Advertising in

   Violation of Section 43(a) of the Lanham Act, 15 U.S.C.A. § 1125; Count II, Violation of the
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   Michigan Consumer Protection Act, M.C.L.A. §445.903; Count III, Unfair Competition under

   Common Law; and Count IV, Unjust Enrichment, as follows:

         a.     Order Defendants to cease using the “Certified Health Care Consultant” or

                “CHCC” title/ designation orally or in writing and to recall all offending materials

                using such designations.

         b.     Enter a monetary award in an amount equal to three times the amount of

                profits earned by Defendants through their misrepresentations from

                January 1, 2003 through October 31, 2005, in the amount of

                $4,952,404,77.

         c.     Enter a monetary award in an amount equal to the costs and attorney fees

                thus far incurred by Plaintiff in this lawsuit, in the amount of $9,667.36.

         II.    As to Count II, Violation of the Michigan Consumer Protection Act, M.C.L.A.

   §445.903:

         a.     Declare that Defendants’ use of the title designation Certified Health Care

                Compliance Consultant or CHCC is unlawful under M.C.L.A. §445.903.

                                               Respectfully submitted,

                                               /s/ Monica P. Navarro
                                               FRANK, HARON, WEINER AND NAVARRO
                                               Monica P. Navarro (P52985)
                                               Michelle D. Bayer (P55546)
                                               Attorneys for Plaintiff
                                               5435 Corporate Drive, Suite 225
                                               Troy, MI 48098
                                               (248) 952-0400
   Dated: October 28, 2005                     Fax: (248) 952-0890




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